8:09-cr-00272-JFB-FG3        Doc # 107     Filed: 02/10/10   Page 1 of 1 - Page ID # 334




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                    8:09CR272
       vs.                                  )
                                            )                      ORDER
MICHAEL D. McCROY,                          )
                                            )
                     Defendant.             )


       This case is before the court on the motion [106] of Steven E. Achelpohl to Withdraw
His Appearance as Counsel and For Further Direction From the Court due to a breakdown
of the attorney-client relationship. Due to the urgency of this matter regarding an appeal
of the court’s order, a new CJA Panel Attorney will be appointed.


       IT IS ORDERED:


      1. The Motion to Withdraw His Appearance as Counsel and For Further Direction
From the Court [106] is granted. The appearance of Steven E. Achelpohl is hereby
deemed withdrawn.


       2. In the Interest of justice, the Court will appoint a CJA Panel Attorney by further
order of the court without a hearing. Steven E. Achelpohl shall make arrangements to turn
over all Rule 16 material regarding this defendant as soon as possible.


       DATED February 10, 2010.


                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
